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April 14, 2011

Jeffery F. Speer
Doucet-Speer, APLC
P. O. Drawer 4303
Lafayette, LA 70502

Re: Nunmaker Yachts v. BP

1, Michael Nunmaker, do hereby approve, consent, and authorize DOUCET-
SPEER, APLC, to enroll as co-counsel, any firm or attorney chosen by DOUCET-
SPEER, APLC and/or Jeffery F. Speer, as co-counsel to represent me in my claim
against British Petroleum, as a result of the spill which occurred in the Gulf of Mexico
on April 20, 2010. Specifically, I hereby approve, consent and/or authorize the
enrollment of attorney Patrick Wartelle and his firm, LEAKE & ANDERSON, LLP, to
work as co-counsel in my claim with DOUCET-SPEER, APLC, under the terms of the
contingency contract which I have entered into with DOUCET-SPEER, APLC.

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MICHAEL NUNMAKER

